         Case 1:18-cv-11499-MLW Document 32 Filed 03/20/19 Page 1 of 6



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

Robenson Jean-Pierre and Jean Metelus, on              Civil Action No. 1:18-cv-11499-MLW
behalf of themselves and all others similarly
situated,                                              COLLECTIVE AND CLASS ACTION

                Plaintiffs,                            NOTICE OF FILING OF CONSENTS TO
                                                       JOIN COLLECTIVE ACTION
        vs.

J&L Cable TV Services, Inc,

                Defendant.



              NOTICE OF FILING CONSENTS TO JOIN COLLECTIVE ACTION
        Plaintiffs Robenson Jean-Pierre and Jean Metelus, individually and on behalf of all

persons similarly situated, hereby files the following Opt-In Consent Forms, submitted herewith

as Exhibit 1 through Exhibit 2, pursuant to the Fair Labor Standards, Act, 29 U.S.C. §§ 201, et

seq.

CONSENT TO JOIN COLLECTIVE ACTION



       EXHIBIT NUMBER                             NAME                      OPT-IN NUMBER

                 1                              Diego Dallien                       26

                 2                          Paul Monplaisir                         27




 Date: March 20, 2019                      Respectfully submitted,


                                           /s/ Michelle S. Lim_______________ _
                                           Carolyn Hunt Cottrell (admitted pro hac vice)
                                           Ori Edelstein (admitted pro hac vice)
                                           Michelle S. Lim (admitted pro hac vice)

                                           SCHNEIDER WALLACE
                                           COTTRELL KONECKY


                                                   1
         Case 1:18-cv-11499-MLW Document 32 Filed 03/20/19 Page 2 of 6



                                          WOTKYNS LLP
                                          2000 Powell Street, Suite 1400
                                          Emeryville, California 94608
                                          Telephone: (415) 421-7100
                                          Facsimile: (415) 421-7105
                                          ccottrell@schneiderwallace.com
                                          oedelstein@schneiderwallace.com
                                           mlim@schneiderwallace.com

                                          Matthew W. Thompson, BBO # 682745

                                          Lichten & Liss-Riordan, P.C.
                                          729 Boylston Street
                                          Suite 2000
                                          Boston, MA 02116
                                          Telephone: (617) 994-5800
                                          mthomson@llrlaw.com

                                          Sarah R. Schalman-Bergen (admitted pro hac vice)
                                          Stacy Savett (pro hac vice to be submitted)
                                          Shoshana Savett (admitted pro hac vice)

                                          BERGER & MONTAGUE, P.C.
                                          1622 Locust Street
                                          Philadelphia, PA 19103
                                          Telephone: (215) 875-3000
                                          Facsimile: (215) 875-4604
                                          sschalman-bergen@bm.net
                                          stasavett@bm.net
                                          stsavett@bm.net

                                          Attorneys for Plaintiffs, the Collective and Putative
                                          Class



                               CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon the attorney of

record for all parties through the Court’s ECF system on March 20, 2019.


/s/ Michelle S. Lim________________
Michelle S. Lim




                                               2
Case 1:18-cv-11499-MLW Document 32 Filed 03/20/19 Page 3 of 6




            EXHIBIT 1
DocuSign Envelope ID: ABE625B2-F7C9-4A00-98B7-A518DE2F2A36
                         Case 1:18-cv-11499-MLW Document 32 Filed 03/20/19 Page 4 of 6
                                                     OPT-IN CONSENT FORM
                                    Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                      Complete And Submit To:

                                                      Carolyn Hunt Cottrell, Esq.
                                                     SCHNEIDER WALLACE
                                                     COTTRELL KONECKY
                                                         WOTKYNS LLP
                                                   2000 Powell Street, Suite 1400
                                                    Emeryville, California 94608

                                                                      OR

                                                   Sarah R. Schalman-Bergen
                                                BERGER & MONTAGUE, P.C.
                                                       1622 Locust Street
                                                Philadelphia, Pennsylvania 19103

              Name:                                                    Date of Birth:
             
                                                     (Please Print)

              Address:                                                 Phone No. 1:
                                                                       Phone No. 2:
                                                                       E-mail Address:


                                       CONSENT TO JOIN COLLECTIVE ACTION
                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

      1.    I consent and agree to pursue my claims relating to and arising from Defendant (J&L Cable TV Services, Inc.)
            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title)             for Defendant in (city, state) ! "
                                                                                                     
                                                    from approximately on or about (date) _____________            to
                                               
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



                
                                               (Date Signed)                                             (Signature)

                                                           **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
Case 1:18-cv-11499-MLW Document 32 Filed 03/20/19 Page 5 of 6




            EXHIBIT 2
DocuSign Envelope ID: 6092937E-2FA6-4298-8C8B-FCFE9DAD257A
                         Case 1:18-cv-11499-MLW Document 32 Filed 03/20/19 Page 6 of 6
                                                    OPT-IN CONSENT FORM
                                    Robenson Jean-Pierre v. J&L Cable TV Services, Inc.
                                     United States District Court, District of Massachusetts

                                                     Complete And Submit To:

                                                     Carolyn Hunt Cottrell, Esq.
                                                    SCHNEIDER WALLACE
                                                    COTTRELL KONECKY
                                                        WOTKYNS LLP
                                                  2000 Powell Street, Suite 1400
                                                   Emeryville, California 94608

                                                                     OR

                                                   Sarah R. Schalman-Bergen
                                                BERGER & MONTAGUE, P.C.
                                                       1622 Locust Street
                                                Philadelphia, Pennsylvania 19103

              Name:                                                   Date of Birth:
             % !#"
                                                    (Please Print)

              Address:                                                Phone No. 1:
                                                                      Phone No. 2:
                                                                      E-mail Address


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                              Pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.

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            alleged violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq. in connection with the above-
            referenced litigation.

      2.    I have worked as a/an (title)                                for Defendant in (city, state) 
                                                    from approximately                                          
                                                                                  on or about (date) _____________            to
                                              
            approximately on or about (date) ______________.

      3.    I understand that this litigation has been filed as a proposed collective action under the Fair Labor Standards Act
            of 1938, as amended, 29 U.S.C. §§ 201, et seq. I hereby consent, agree, and opt-in to become a Plaintiff herein
            and be bound by any judgment of the Court or any settlement of this action.

      4.    I specifically authorize my attorneys, Schneider Wallace Cottrell Konecky Wotkyns and Berger & Montague to
            prosecute this lawsuit on my behalf and to negotiate a settlement of any and all claims I have against the
            Defendant in this litigation.



               
                                              (Date Signed)                                              (Signature)

                                                          **IMPORTANT NOTE**
            Statute of Limitations concerns mandate that you return this form as soon as possible to preserve your rights.
